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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

 JOHN HALL, Individually and for Others                )
 Similarly Situated,                                   )
                                                       )
                 Plaintiff,                            )
                                                       )
 v.                                                    )         Case No. 3:18-cv-321
                                                       )
 DOMINION ENERGY, INC.,                                )
 STRATEGIC CONTRACT RESOURCES,                         )
 LLC, and VIRGINIA ELECTRIC AND                        )
 POWER COMPANY,                                        )
                                                       )
                 Defendants.                           )

      UPDATED JOINT MOTION TO STAY THE CASE AND STATUS REPORT

       The Parties jointly move the Court to stay the case indefinitely so their efforts may be focused

on finalizing a potential collective action settlement, subject to ratification by Dominion Energy, Inc.

(“Dominion”), the framework for which the Parties agreed to during mediation on April 17, 2019.

The Parties request that the Court stay this matter in its entirety, including without limitation all

deadlines, pleadings, responses, and hearings, except for proceedings related to Plaintiff’s Motion to

Compel filed March 29, 2019 (ECF No. 70) and to the extent necessary to effectuate settlement.

       Specifically, the parties reached agreement on a framework for an opt-in, claims-made

reversionary settlement encompassing the 386 workers identified during mediation, who were

reflected on available records as meeting the following definitions:

           a. Opt-In Plaintiffs: John Hall and Dennis Klapatch;

           b. Prospective Hourly, Non-Exempt Opt-Ins: All hourly workers
              who were staffed to Dominion or its 217 subsidiaries, and paid
              straight time for overtime, from December 21, 2015 to the
              present;

           c. Prospective Salaried Opt-Ins: All salaried workers who were
              staffed to Dominion or its 217 subsidiaries, and were paid

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                 straight time for overtime, from December 21, 2015, to the
                 present. Specifically, this includes salaried workers who were
                 paid the same effective hourly rate for hours worked under 40
                 hours in a week and hours worked over 40 hours. This does not
                 include workers who were paid a salary and not paid any
                 additional amount based on hours worked over 40.

       Resolution of this matter, including monetary payments, requires the approval of various

Dominion business units. Therefore, the framework for settlement between the parties will not

become effective or binding until ratified and confirmed by Dominion, and a formal Settlement

Agreement is executed by the parties. This ratification decision must be made and communicated no

later than June 16, 2019. During the ratification period, the Parties further agree that the Tolling

Period applicable to Plaintiff and all workers on their FLSA and state law wage and hour claims relating

to their work with Defendants shall continue to be tolled during this period.

       No later than June 24, 2019, the Parties will file a status update with the Court.

       Within thirty (30) business days after the framework is ratified by Dominion, and a Settlement

Agreement is executed between all parties, Plaintiff will file a Motion for Approval of Settlement

Agreement, requesting that the Court approve the settlement reflected therein.

       The Parties will endeavor to apply their best effort to execute a final Settlement Agreement by

July 16, 2019.




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Dated: April 22, 2019        Respectfully Submitted,

                             DOMINION ENERGY, INC.;
                             VIRGINIA AND ELECTRIC POWER
                             COMPANY; and STRATEGIC
                             CONTRACT RESOURCES, LLC

                             By      /s/ Bret G. Daniel_____
                             Jimmy F. Robinson, Jr., Esquire
                             Virginia State Bar Number 43622
                             jimmy.robinson@ogletreedeakins.com
                             J. Clay Rollins, Esquire
                             Virginia State Bar Number 84382
                             clay.rollins@ogletreedeakins.com
                             Bret G. Daniel, Esquire
                             Virginia State Bar Number 92189
                             bret.daniel@ogletreedeakins.com
                             OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                             901 East Byrd Street, Suite 1300
                             Riverfront Plaza, West Tower
                             Richmond, VA 23219
                             Tel.: (804) 663-2330
                             Fax: (855) 843-1809

                             Counsel for Defendants

                             JOHN HALL, Individually and for Others Similarly
                             Situated

                             By: /s/ Harris D. Butler
                             Harris D. Butler (VSB No. 26483)
                             Zev H. Antell (VSB No. 74634)
                             BUTLER ROYALS, PLC
                             140 Virginia Street, Suite 302
                             Richmond, Virginia 23219
                             804-648-4848 – Telephone
                             804-237-0413 – Facsimile
                             Email: harris.butler@butlerroyals.com
                                    zev.antell@butlerroyals.com

                             Michael A. Josephson
                             Texas Bar No. 24014780
                             Andrew Dunlap
                             Texas Bar No. 24078444
                             Richard M. Schreiber
                             Texas Bar No. 24056278
                             JOSEPHSON DUNLAP, LLP

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                            11 Greenway Plaza, Suite 3050
                            Houston, Texas 77046
                            713-352-1100 – Telephone
                            713-352-3300 – Facsimile
                            Email: mjosephson@mybackwages.com
                                    adunlap@mybackwages.com
                                    rschreiber@mybackwages.com
                            (admitted pro hac vice)

                            Richard J. (Rex) Burch
                            Texas Bar No. 24001807
                            BRUCKNER BURCH, PLLC
                            8 Greenway Plaza, Suite 1500
                            Houston, Texas 77046
                            713-877-8788 – Telephone
                            713-877-8065 – Facsimile
                            Email: rburch@brucknerburch.com
                            (admitted pro hac vice)

                            ATTORNEYS IN CHARGE FOR PLAINTIFFS




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                                     Certificate of Service

       I hereby certify that on this 22nd day of April, 2019, I electronically filed the foregoing
with the clerk of the court using the CM/ECF system which will send notification of such filing to
counsel for Plaintiff:

  Harris D. Butler                  Michael A. Josephson               Richard J. (Rex) Burch
  (VSB No. 26483)                   (Tex. Bar No. 24014780)            (Tex. Bar No. 24001807)
  harris.butler@butlerroyals.com    mjosephson@mybackwages.com         rburch@brucknerburch.com
  Zev H. Antell                     Richard M. Schreiber               BRUCKNER BURCH, PLLC
  (VSB No. 74634)                   (Tex. Bar No. 24056278)            8 Greenway Plaza, Suite 1500
  zev.antell@butlerroyals.com       rschreiber@mybackwages.com         Houston, Texas 77046
  BUTLER ROYALS, PLC                Andrew Dunlap                      Tel.: (713) 877-8788
  140 Virginia Street, Suite 302    (Tex. Bar. No. 24078444)           Fax: (713) 877-8065
  Richmond, Virginia 23219          adunlap@mybackwages.com            [Admitted Pro Hac Vice]
  Tel.: (804) 648-4848              JOSEPHSON DUNLAP
  Fax: (804) 237-0413               11 Greenway Plaza, Suite 3050
                                    Houston, Texas 77046
                                    Tel.: (713) 352-1100
                                    Fax: (713) 352-3300
                                    [Admitted Pro Hac Vice]

                                      Counsel for Plaintiff

DOMINION ENERGY, INC.;
VIRGINIA AND ELECTRIC POWER
COMPANY; and STRATEGIC
CONTRACT RESOURCES, LLC

By      /s/ Bret G. Daniel _____
Jimmy F. Robinson, Jr., Esquire
Virginia State Bar Number 43622
jimmy.robinson@ogletreedeakins.com
J. Clay Rollins, Esquire
Virginia State Bar Number 84382
clay.rollins@ogletreedeakins.com
Bret G. Daniel, Esquire
Virginia State Bar Number 92189
bret.daniel@ogletreedeakins.com
OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
901 East Byrd Street, Suite 1300
Riverfront Plaza, West Tower
Richmond, VA 23219
Tel.: (804) 663-2330
Fax: (855) 843-1809
        Counsel for Defendant

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